          Case 1:19-cv-10992-NMG Document 15 Filed 09/10/19 Page 1 of 1
                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS



                Madhu Sharma
                                                                           CIVIL ACTION
                V.                                                         NO. 19-10992 -NMG


                United States of America

                                   ORDER OF REFERENCE FOR
                                ALTERNATIVE DISPUTE RESOLUTION

        After consultation with counsel and after consideration of the various alternative dispute resolution
programs (ADR) available, I find this matter appropriate for ADR and accordingly, refer this case to the
ADR program for assignment of the following:


        _______ EARLY NEUTRAL EVALUATION                      X      MEDIATION: April, 2020
        _______ MINI-TRIAL                                           SUMMARY JURY TRIAL
        _______ SETTLEMENT CONFERENCE                     _______ SPECIAL MASTER
        _______ PRIVATE ALTERNATIVE DISPUTE RESOLUTION PROGRAM


        Upon notification of the time and place designated for the proceeding, counsel are directed to be
present with their clients or with appropriate settlement authority and to provide any written documentation
which may be required for the particular ADR program.     If counsel is engaged on trial or has any
scheduling conflict and a continuance becomes necessary, the provider of the ADR program and other
counsel should be advised of the conflict immediately.


                                                                   HON. NATHANIEL M. GORTON
                                                                   UNITED STATES DISTRICT JUDGE
                                                                   BY: /s/ Christine M. Lima
DATE: 9/10/19                                                      DEPUTY CLERK


                                            CASE CATEGORY

Admiralty                                                  Antitrust
Civil Rights                                               Contract
Copyright/Trademark/Patent                                 Environmental
ERISA                                                      FELA
Labor Relations                                            Medical Malpractice
Personal Injury                                            Product Liability
Shareholder Dispute
Other                                X
